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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION


IN RE:                                                CASE NO. 15 B 13132
                                                      CHAPTER 13
JESSE L. HINTON
                                                      JUDGE JACQUELINE P COX

          DEBTOR                                      NOTICE OF FINAL CURE PAYMENT


Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, TOM VAUGHN
files this Notice of Final Cure Payment. The amount required to cure the default in the claim listed
below has been paid in full.

Name of Creditor: ELIZON MASTER TRUST/US BANK NA




Final Cure Amount

Court       Claim      Account                                       Claim              Claim              Amount
Claim #     ID         Number                                        Asserted           Allowed            Paid

17          30         XXXXXX2975                                    $11,941.72         $11,941.00         $11,941.00

Total Amount Paid by Trustee                                                                               $11,941.00



Monthly Ongoing Mortgage Payment

Mortgage is Paid:

     Through the Chapter 13 Conduit                          X Direct by the Debtor



Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the
Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor
has paid in full the amount required to cure the default on the claim; and 2) whether the Debtor is
otherwise current on all payments consistent with 11 U.S.C. § 1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.
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                                                                                            CASE NO. 15-13132-JPC



                                          CERTIFICATE OF SERVICE

I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the
persons named above by U.S. mail at 55 E. MONROE STREET, SUITE 3850, CHICAGO, IL 60603 or
by the methods indicated on this 17th day of June, 2020.


Debtor:                                               Attorney:
JESSE L. HINTON                                       DANIEL M MOULTON
10629 S. EBERHART                                     10150 S WESTERN AVE #REAR
CHICAGO, IL 60628                                     CHICAGO, IL 60643
                                                      via Clerk's ECF noticing procedures

Creditor:                                             Mortgage Creditor:
ELIZON MASTER TRUST/US BANK                           URBAN PARTNERSHIP BANK
NA                                                    75 REMITTANCE DR
% SELECT PORTFOLIO SERVICING                          PO BOX 19260
PO BOX 65450                                          CHICAGO, IL 60619-0260
SALT LAKE CITY, UT 84165-0450

Mortgage Creditor:                                    Mortgage Creditor:
JPMORGAN CHASE BANK                                   HEAVNER BEYERS & MIHLAR LLC
% CODILIS & ASSOCIATES PC                             111 EAST MAIN ST
15W030 N FRONTAGE RD STE 100                          DECATUR, IL 62525
BURR RIDGE, IL 60527

Mortgage Creditor:                                    Creditor:
IRA T NEVEL                                           ELIZON MASTER TRUST/US BANK
175 N FRANKLIN # 201                                  NA
CHICAGO, IL 60606                                     % SELECT PORTFOLIO SERVICING
                                                      PO BOX 65250
                                                      SALT LAKE CITY, UT 84165-0250

ELECTRONIC SERVICE - United States Trustee


Date: June 17, 2020                                                 /s/ TOM VAUGHN
                                                                    TOM VAUGHN
                                                                    CHAPTER 13 TRUSTEE
                                                                    55 E. MONROE STREET, SUITE 3850
                                                                    CHICAGO, IL 60603
